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To:       Torres, Joaquin (ECN)uoaquin.torres@sfgov.org]; Cohen, Amy (ECN)[amy.b.cohen@sfgov.org]
From:     Brown, Vallie (ECN)
Sent:     Thur 10/19/2017 4:07:21 PM
Subject: Fwd: Fillmore Heritage Center - For Immediate Release
FHC - Press Release.pdf
A TT0000 1.htm

FYI/ I have a meeting with Majeid this AM about the Fillmore mini park.

Sent from my iPhone

Begin forwarded message:


       From: majeid crawford <majeidcrawford@gmail.com >
Date: October 19, 2017 at 8:53:48 AM PDT
To: undisclosed-recipients:;
Subject: Fillmore Heritage Center - For Immediate Release


       FOR IMMEDIATE RELEASE
       October 19, 2017
                                           Contact: Majeid Crawford, Communications Director
                                                      New Community Leadership Foundation
                                                                               415-424-0155
                                                                  majeidcrawford@gmail.com

        The New Community Leadership Foundation Announces the Creation of an
                       Oversight Board for the Fillmore Heritage Center
             **Public Rally to be Held on Thursday, November 2nd at 12:00pm**
(San Francisco, CA): Residents and community organization leaders in the Fillmore District
        are banding together to ensure that the community benefits package promised to them
        by the San Francisco Mayor's Office of Economic and Workforce Development
        (OEWD) actually materializes with the forthcoming sale of the Fillmore Heritage Center.
The New Community Leadership Foundation (NCLF), an African American-led 501 (c)(3)
        community organization, announced today that it is accepting applications for founding
        members of the Fillmore Heritage Center Oversight Board (FHCOB) to monitor the sale
        of the property and protect the rights of the stakeholders whom the Fillmore Heritage
        Center was intended to serve. Applications will be accepted from November 2nd -
        December 4th, 2017.
"This community has suffered for decades since the City's 'redevelopment' projects displaced
       thousands of African Americans and destroyed countless black-owned businesses,"
        says NCLF Vice President, Lily Robinson. "We were told that the Fillmore Heritage
        Center would be an anchor point for rebuilding our neighborhood economy. We expect
        and demand for that to happen."
On February 10th, 2017, OEWD issued a Request for Proposals to find a new owner for the
        50,000 square foot commercial property located on the corner of Fillmore and Eddy that
        had formerly operated as Yoshi's SF. Nearly seven months after the RFP submission
        deadline, that process appears to have stalled.
"Throughout the neighborhood, there is deep concern that the community benefits package
        has been compromised and the formal selection process has been abandoned," adds
        Hugh Gregory, NCLF Executive Director. "We are working to unite the community to
        speak with one voice and empower individuals and organizations to be the watchdog."




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As published in the RFP (available at http ://oewd .org/fillmoreheritagecenter ), respondents were
         to be scored based on whether their proposals would form partnerships with nonprofit
         organizations and local small businesses, provide affordable community activation
         opportunities, create jobs for local residents and provide entrepreneurship opportunities
         for minorities and women.
"If you've been around this neighborhood long enough, you can see when something's not
         right," explains legendary saxophonist and longtime Fillmore resident, Bobby "Spider''
         Webb. "I've been in meetings with every organization that proposed a real community
         benefits plan, and those aren't the faces I'm seeing now at the Heritage Center. We're
         being left in the dark."
Mr. Webb, along with numerous Fillmore District community leaders, believes an organized
         approach to oversight is necessary to ensure that the City fulfills its promises.
"I can guarantee this," Mr. Webb adds. "There's going to be a lot of vocal community support
         for this movement. So this watchdog's going to have a bark. And there's going to be a
         lawyer or three on the oversight board, so this watchdog's going to have a bite, too."
NCLF will host a rally on Thursday, November 2nd at 12:00pm outside of the Fillmore Heritage
         Center at 1330 Fillmore Street to formally announce the creation of the FHCOB and
         solicit applications. The event will also debut a new website,
         www.fillmoreheritagecenter .org , dedicated to monitoring and reporting on
         developments at the Fillmore Heritage Center.




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